UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
ROBERT DALE DIXON, )
Plaintiff,
V. No. 4:19-CV-3286-JAR
RICHARD JENNINGS, et al., 5
Defendants.
MEMORANDUM AND ORDER

 

This matter is before the Court upon the Missouri Attorney General’s Office filing of the
last known address for defendant John-Riley Layton. ECF No. 13. Because plaintiff Robert Dale
Dixon is proceeding in forma pauperis, the Court will direct the Clerk of Court to effectuate service
of process through the United States Marshal’s Office, using the address provided in docket
number 13. See Fed. R. Civ. P. 4(c)(3). A copy of the summons and return of summons shall be
filed under seal and ex parte.

Accordingly,

IT IS HEREBY ORDERED that the Clerk of Court shall effectuate service of process via
the United States Marshal’s Office upon defendant John-Riley Layton in his individual capacity
at the address provided in docket number 13.

IT IS FURTHER ORDERED that a copy of the summons and the return of summons
shall be filed under seal and ex parte.

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Dated this day of September, 2020.

JO » ROSS
UNITED STATES DISTRICT JUDGE

 
